                                                                               Motion GRANTED.
                                                                               Hearing reset for
                        UNITED STATES DISTRICT COURT                           3/21/13 at 2:30 p.m.
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

    UNITED STATES OF AMERICA                      )
                                                  )       No. 3:12-cr-00018

    v.                                            )       Judge Trauger
                                                  )
    CANISHA DENISE ALRED                          )


            FIRST MOTION TO CONTINUE SENTENCING HEARING

           Comes now the defendant, Canisha Denise Alred, by and through counsel

    of record, David R. Heroux, and moves this Honorable Court to continue the

    Sentencing Hearing in the above styled matter currently set for January 3, 2013.

    The defendant has been authorized to represent to the Court that the United States

    has no objection to this motion. Counsels for the defendant and the United States

    would request that, subject to the Court’s calendar, the hearing be reset for the late

    March 2013. In support of this motion the defendant has filed an affidavit of

    counsel.


                                                  Respectfully submitted,

                                                  Haymaker & Heroux, P.C.


                                                  s/ David R. Heroux
                                                  David R. Heroux,      BPR 20798
                                                  Attorney for the Defendant
                                                  943 Main Street
                                                  Nashville, Tennessee 37206
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